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                               UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEW JERSEY


  DANIEL D’AMBLY,

                 Plaintiff,                          CIVIL ACTION NO.: 2:20-cv-12880

         vs.                                               (ELECTRONICALLY FILED)

  CHRISTIAN EXOO a/k/a@ANTIFASH
  GORDON; ST. LAWRENCE UNIVERSITY;
  TRIBUNE PUBLISHING COMPANY; NEW
  YORK DAILY NEWS; VIJAYA GADDE;
  TWITTER, INC.; COHEN, WEISS, AND
  SIMON, LLP,

                 Defendants.



         DANIEL D’AMBLY’S STATEMENT OF DISPUTED MATERIAL FACTS



        Pursuant to L.Civ.R. 56.1 Plaintiff Daniel D’Ambly (Hereinafter “D’Ambly”), hereby

 submits the following Statement of Disputed Material Facts in opposition to defendants Tribune

 Publishing Company and New York Daily News’ (collectively “Daily News”) request for leave

 to file a motion for summary judgment:

        1.      D’Ambly was terminated on January 18, 2019, because the Daily News withheld

 information relative to threatening voicemails directed at D’Ambly to extort his termination, and

 then lied about the date they knew the threatening voicemails were received.

        2.      The Daily News does not apply the provisions in its Employee Handbook

 uniformly to all racial classes.

        3.      D’Ambly could not have been terminated because of his activities with the New

 Jersey European Heritage Association, because those activities include speech and political

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 protests protected by the First Amendment, and he never associated himself with the Daily News

 during those activities.

         4.     To justify D’Ambly’s termination, the Daily News concocted a three-month

 scheme that culminated in the fabricated “cause” of D’Ambly’s termination.

         5.     The Daily News, D’Ambly, and the Teamsters did not spend months litigating

 this dispute in an arbitral forum. The grievance was withdrawn from arbitration.

         6.     D’Ambly is entitled to receive substantially more than $70,000, because his

 termination was motivated by racial animus and is classic disparate treatment based on racial

 identity.

         7.     The Separation Agreement dated September 9, 2019, is based on material

 misrepresentations made by the Daily News in D’Ambly’s Termination of Employment Letter.

         8.     The separation agreement was not the product of mutual assent.



                                    Respectfully submitted,




                                  _________________________________
 Date: January 24, 2021             Patrick Trainor, Esq.
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